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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 DAVID SCHWARTZ, Individually and on              )
 Behalf of All Others Similarly Situated,         )
                                                  )
                        Plaintiff,                )
                                                  )    Case No. 1:20-cv-01975
         v.                                       )
                                                  )    CLASS ACTION COMPLAINT FOR
 HEXCEL CORPORATION, NICK L.                      )    VIOLATIONS OF SECTIONS 14(a) AND
 STANAGE, JEFFREY C. CAMPBELL,                    )    20(a) OF THE SECURITIES
 THOMAS A. GENDRON, GUY C.                        )    EXCHANGE ACT OF 1934
 HACHEY, JEFFREY A. GRAVES,                       )
 CYNTHIA M. EGNOTOVICH, JOEL S.                   )    JURY TRIAL DEMANDED
 BECKMAN, LYNN BRUBAKER and                       )
 CATHERINE A. SUEVER,                             )
                                                  )
                        Defendants.               )


       Plaintiff David Schwartz (“Plaintiff”), by his undersigned attorneys, alleges upon personal

knowledge with respect to himself, and information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                     NATURE OF THE ACTION

       1.      This action is brought as a class action by Plaintiff on behalf of himself and the

other public holders of the common stock of Hexcel Corporation (“Hexcel” or the “Company”)

against the Company and the members of the Company’s board of directors (collectively, the

“Board” or “Individual Defendants” and, together with Hexcel, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a), 78t(a), SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, and Regulation G, 17

C.F.R. § 244.100, in connection with the proposed merger (the “Proposed Transaction”) between

Hexcel and Woodward, Inc. (“Woodward”).

       2.      On January 12, 2020, the Board caused the Company to enter into an agreement

and plan of merger (“Merger Agreement”), pursuant to which the Company’s shareholders stand




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to receive 0.625 shares of Woodward common stock for each share of Hexcel stock they own (the

“Merger Consideration”). Upon completion of the merger, Hexcel shareholders will own

approximately 45% and Woodward shareholders will own approximately 55% of the common

stock outstanding.

       3.      On February 28, 2020, in order to convince Hexcel shareholders to vote in favor of

the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading Form S-4 (the “S-4”) Registration Statement with the Securities and Exchange

Commission (“SEC”), in violation of Sections 14(a) and 20(a) of the Exchange Act. The

materially incomplete and misleading S-4 violates SEC Rule 14a-9 (17 C.F.R. § 240.14a-9).

       4.      While touting the fairness of the Merger Consideration to the Company’s

shareholders in the S-4, Defendants have failed to disclose certain material information that is

necessary for shareholders to properly assess the fairness of the Proposed Transaction, thereby

violating SEC rules and regulations and rendering certain statements in the S-4 materially

incomplete and misleading.

       5.      In particular, the S-4 contains materially incomplete and misleading information

concerning: (i) the financial projections for the Company that were prepared by the Company and

relied on by Defendants in recommending that Hexcel shareholders vote in favor of the Proposed

Transaction; and (ii) the summary of certain valuation analyses conducted by Hexcel’ financial

advisor, Goldman Sachs & Co. LLC (“Goldman Sachs”) in support of its opinion that the Merger

Consideration is fair to shareholders, on which the Board relied.

       6.      It is imperative that the material information that has been omitted from the S-4 is

disclosed prior to the forthcoming vote to allow the Company’s shareholders to make an informed

decision regarding the Proposed Transaction.




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        7.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act, based on Defendants’

violation of: (i) Regulation G (17 C.F.R. § 244.100); and (ii) Rule 14a-9 (17 C.F.R. § 240.14a-9).

Plaintiff seeks to enjoin Defendants from holding the shareholder vote on the Proposed Transaction

and taking any steps to consummate the Proposed Transaction unless, and until, the material

information discussed below is disclosed to Hexcel shareholders sufficiently in advance of the vote

on the Proposed Transaction or, in the event the Proposed Transaction is consummated, to recover

damages resulting from Defendants’ violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        8.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        9.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        10.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because Hexcel is incorporated in this District.

                                              PARTIES

        11.     Plaintiff is, and at all relevant times has been, a holder of Hexcel common stock.

        12.     Defendant Hexcel is incorporated in Delaware and maintains its principal executive

offices at 281 Tresser Boulevard, 16th Floor, Stamford, Connecticut 06901. The Company’s




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common stock trades on the NYSE under the ticker symbol “HXL.”

        13.     Individual Defendant Nick L. Stanage is Hexcel’s President, Chief Executive

Officer and Chairman and has been a director of Hexcel since January 2014.

        14.     Individual Defendant Jeffrey C. Campbell is Hexcel’s Lead Director and has been

a director of Hexcel since November 2003.

        15.     Individual Defendant Thomas A. Gendron is Woodward’s President, Chief

Executive Officer and Chairman and has been a director of Hexcel since January 2011.

        16.     Individual Defendant Guy C. Hachey has been a director of Hexcel since October

2014.

        17.     Individual Defendant Jeffrey A. Graves has been a director of Hexcel since July

2007.

        18.     Individual Defendant Cynthia M. Egnotovich has been a director of Hexcel since

January 2015.

        19.     Individual Defendant Joel S. Beckman has been a director of Hexcel since March

2003.

        20.     Individual Defendant Lynn Brubaker has been a director of Hexcel since December

2005.

        21.     Individual Defendant Catherine A. Suever has been a director of Hexcel since May

2018.

        22.     The Individual Defendants referred to in paragraphs 13-21 are collectively referred

to herein as the “Individual Defendants” and/or the “Board.”




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                              CLASS ACTION ALLEGATIONS

       23.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf of himself

and the other public shareholders of Hexcel (the “Class”). Excluded from the Class are Defendants

herein and any person, firm, trust, corporation, or other entity related to or affiliated with any

Defendant.

       24.     This action is properly maintainable as a class action because:

               a.     The Class is so numerous that joinder of all members is impracticable. As

       of February 21, 2020, there were approximately 86,000,000 shares of Hexcel common

       stock outstanding, held by hundreds of individuals and entities scattered throughout the

       country. The actual number of public shareholders of Hexcel will be ascertained through

       discovery;

               b.     There are questions of law and fact that are common to the Class that

       predominate over any questions affecting only individual members, including the

       following:

                      i)      whether Defendants disclosed material information that includes

                              non-GAAP (Generally Accepted Accounting Principles) financial

                              measures without providing a reconciliation of the same non-GAAP

                              financial measures to their most directly comparable GAAP

                              equivalent in violation of Section 14(a) of the Exchange Act;

                      ii)     whether Defendants have misrepresented or omitted material

                              information concerning the Proposed Transaction in the S-4 in

                              violation of Section 14(a) of the Exchange Act;




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                iii)      whether the Individual Defendants have violated Section 20(a) of

                          the Exchange Act; and

                iv)       whether Plaintiff and other members of the Class will suffer

                          irreparable harm if compelled to vote their shares regarding the

                          Proposed Transaction based on the materially incomplete and

                          misleading S-4.

        c.      Plaintiff is an adequate representative of the Class, has retained competent

counsel experienced in litigation of this nature, and will fairly and adequately protect the

interests of the Class;

        d.      Plaintiff’s claims are typical of the claims of the other members of the Class

and Plaintiff does not have any interests adverse to the Class;

        e.      The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual

members of the Class, which would establish incompatible standards of conduct for the

party opposing the Class;

        f.      Defendants have acted on grounds generally applicable to the Class with

respect to the matters complained of herein, thereby making appropriate the relief sought

herein with respect to the Class as a whole; and

        g.      A class action is superior to other available methods for fairly and

efficiently adjudicating the controversy.




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                               SUBSTANTIVE ALLEGATIONS

I.     The Proposed Transaction

       25.     Hexcel is an advanced composite company that develops, manufactures and

markets lightweight, high-performance structural materials including carbon fibers, specialty

reinforcements, prepregs and other fiber-reinforced matrix materials, honeycomb, adhesives, radio

frequency/electromagnetic interference and microwave absorbing materials, engineered

honeycomb and composite structures. The Company’s products are used in a wide variety of end

applications, such as commercial and military aircraft, space launch vehicles and satellites, wind

turbine blades, automotive, recreational products and other industrial applications.

       26.     On January 12, 2019, Hexcel and Woodward issued a joint press release

announcing the Proposed Transaction, which states in pertinent part:

       FORT COLLINS, Colo. & STAMFORD, Conn.--(BUSINESS WIRE)--
       Woodward, Inc. (NASDAQ: WWD) and Hexcel Corporation (NYSE: HXL) today
       announced a definitive agreement to combine in an all-stock merger of equals to
       create a premier integrated systems provider serving the aerospace and industrial
       sectors. The combined company will focus on technology-rich innovations to
       deliver smarter, cleaner, and safer customer solutions.

       Under the terms of the agreement approved by the Boards of Directors of both
       companies, Hexcel shareholders will receive a fixed exchange ratio of 0.625 shares
       of Woodward common stock for each share of Hexcel common stock, and
       Woodward shareholders will continue to own the same number of shares of
       common stock in the combined company as they do immediately prior to the
       closing. The exchange ratio is consistent with the 30-day average share prices of
       both companies. Upon completion of the merger, existing Woodward shareholders
       will own approximately 55% and existing Hexcel shareholders will own
       approximately 45% of the combined company on a fully diluted basis. In
       connection with the transaction, Woodward is increasing its quarterly cash dividend
       to $0.28 a share. The merger is expected to be tax free for U.S. federal income tax
       purposes.

       The combined company, to be named Woodward Hexcel, will be among the top
       independent aerospace and defense suppliers globally by revenue. It will have more
       than 16,000 employees, manufacturing operations in 14 countries on five
       continents, and a diversified customer base across multiple markets. For each



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company’s respective fiscal year 2019 on a pro forma basis, the combined company
is expected to generate net revenues of approximately $5.3 billion and EBITDA of
$1.1 billion, or a 21% EBITDA margin.

Nick Stanage, Chairman, Chief Executive Officer and President of Hexcel, will
serve as Chief Executive Officer of the combined company. Tom Gendron,
Chairman, Chief Executive Officer and President of Woodward, will serve as
Executive Chairman of the combined company until the first anniversary of the
closing of the merger, at which time Mr. Gendron intends to retire from the
company and will then serve as non-executive Chairman of the combined company
until the second anniversary of the merger close. At that point, Mr. Stanage will
assume the role of Chairman of the Board in addition to his CEO responsibilities.
The combined company’s Board of Directors will have 10 members, consisting of
five directors from each company, including Mr. Gendron and Mr. Stanage.

Mr. Gendron said, “Our two companies are each independently working toward
addressing the sustainability and efficiency needs of our customers. This merger
accelerates our technology investments and creates greater benefits and growth
opportunities than either company could have achieved alone. Both Woodward and
Hexcel have attractive growth trajectories, with strong aftermarket positions and
increased composite penetration driving our respective outlooks. Our
complementary cultures and shared commitment to operational excellence and
customer satisfaction, together with our enhanced financial strength, will position
us to better serve our OEM and aftermarket customers. We will be stronger together
and are committed to delivering even greater value to all our stakeholders.”

Mr. Stanage said, “The future of flight and energy efficiency will be defined by
next-generation platforms delivering lower cost of ownership, reduced emissions,
and enhanced safety – and a combined Hexcel and Woodward will be at the
forefront of this evolution. Woodward’s innovative control systems and Hexcel’s
advanced lightweight materials are designed to drive improved reliability,
efficiency, and emissions. Through our combined scale and strong cash flow
profile, we will be even better positioned to accelerate innovation in aerodynamics
and propulsion efficiencies and support evolving customer needs. I am incredibly
excited about what we can accomplish by uniting these two premier companies and
world-class teams with similar values, cultures, and operating philosophies.”

Strategic and financial benefits of the merger include:

   •   Creates leading company well positioned to deliver forward-looking
       technologies to address evolving customer needs. The transaction unites
       industry leaders in advanced materials and control systems to create a
       premier aerospace and industrial leader well positioned to satisfy customer
       demands for aircraft aerodynamics, energy efficiency, improved safety, and
       reduced emissions and noise. The combined company expects to spend
       approximately $250 million on research and development in the first full



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       year post-closing and will have greater resources to invest in emerging
       technologies to support next-generation aerospace customer programs and
       accelerate innovation in aerodynamics, propulsion, and energy efficiency.

   •   Well-balanced portfolio across customers, end markets, and
       investment cycles. Building on each company’s strong existing positions
       on best-in-class product platforms, the combined company will have greater
       depth and balance of customer relationships across the aerospace and
       industrial sectors, with significant opportunities for cross-selling and to
       enhance customer relationships. The transaction combines both companies’
       exceptional OEM positions, Hexcel’s secular composite penetration, and
       Woodward’s industry-leading aftermarket positions to drive consistent top-
       line growth and cash flow generation across program lifecycles.

   •   Significant shareholder value creation opportunities. The combined
       company is expected to realize more than $125 million in annual cost
       synergies by the second full fiscal year post-closing, primarily from
       strategic sourcing opportunities, elimination of duplicative corporate costs,
       leveraging its global footprint and infrastructure, and expanding shared
       service platforms.

   •   Strong balance sheet with significant free cash flow generation and a
       commitment to a balanced capital allocation strategy. For each
       company’s respective fiscal year 2019, Woodward Hexcel would have more
       than $5.3 billion of pro forma revenue and over $1.1 billion of EBITDA or
       21% EBITDA margin. Combined free cash flow is forecasted to be
       approximately $1 billion annually and growing. Woodward Hexcel is
       expected to be capitalized with a strong balance sheet and a leverage ratio
       of approximately 1.4x debt/trailing EBITDA at closing. The combined
       company intends to pursue an investment grade rating, a competitive
       dividend yield with an initial target of 1%, and deploy cash toward
       acquisitions and share repurchases, including executing on an expected $1.5
       billion share repurchase program within 18 months of closing.

   •   Complementary cultures and operating philosophies. Woodward and
       Hexcel share similar values and strong track records of high-impact R&D
       investment. By leveraging our team members’ talents and a common focus
       on operational excellence, Woodward Hexcel will continue to bring
       innovative products to market while driving operating margin
       improvements. Together, these actions will continue to deliver significant
       value to shareholders.

Headquarters and Transition Team

Woodward Hexcel will be headquartered in Fort Collins, Colorado. The combined
company will be led by a highly experienced and proven leadership team that
reflects the strengths and capabilities of both organizations. In addition and to


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ensure a seamless integration, Woodward and Hexcel will establish a dedicated
integration planning team, led by Bob Weber, Vice Chairman of Woodward, and
Rob Hennemuth, Executive Vice President of Human Resources and
Communications at Hexcel.

Approvals and Timing to Close

The transaction is subject to the approval of the shareholders of both Woodward
and Hexcel, as well as other customary closing conditions, including required
regulatory approvals. The parties expect the merger to close in the third calendar
quarter of 2020, subject to satisfaction of these conditions.

Earnings Releases

In separate news releases, Woodward and Hexcel will report Q1 2020 and Q4 2019
financial results, respectively, on February 3, 2020, after market close.

Advisors

Goldman Sachs & Co. LLC is acting as exclusive financial advisor to Hexcel, and
Wachtell, Lipton, Rosen & Katz is serving as legal counsel. J.P. Morgan Securities
LLC is acting as exclusive financial advisor to Woodward, and Wilson Sonsini
Goodrich & Rosati is serving as legal counsel.

Joint Conference Call and Transaction Website

Hexcel Corporation and Woodward, Inc. will conduct a joint live conference call
and webcast today (January 12, 2020) at 5:00 p.m. (EST). The event will be webcast
and can be accessed on the joint                           transaction website at
www.woodwardhexcelmerger.com and on the investor relations section of each
company's website at www.Hexcel.com and www.Woodward.com. The event can
also be accessed by dialing +1 (866) 610-1072. The conference ID is 1174138. A
replay of the call will be available on the investor relations page of each company’s
website approximately two hours after the conclusion of the call.

About Woodward

Woodward is an independent designer, manufacturer, and service provider of
control system solutions and components for the aerospace and industrial markets.
The company's innovative fluid, combustion, electrical, and motion control systems
help customers offer cleaner, more reliable, and more efficient equipment. Our
customers include leading original equipment manufacturers and end users of their
products. Woodward is a global company headquartered in Fort Collins, Colorado,
USA. Visit our website at www.woodward.com.




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        About Hexcel

        Hexcel Corporation is a leading advanced composites company. It develops,
        manufactures and markets lightweight, high-performance structural materials,
        including carbon fibers, specialty reinforcements, prepregs and other fiber-
        reinforced matrix materials, honeycomb, adhesives, engineered core and composite
        structures, used in commercial aerospace, space and defense and industrial
        applications. Learn more at www.Hexcel.com.

        27.     Hexcel is well-positioned for financial growth and the Merger Consideration fails

to adequately compensate the Company’s shareholders. It is imperative that Defendants disclose

the material information they have omitted from the S-4, discussed in detail below, so that the

Company’s shareholders can properly assess the fairness of the Merger Consideration for

themselves and make an informed decision concerning whether or not to vote in favor of the

Proposed Transaction.

        28.     If the false and/or misleading S-4 is not remedied and the Proposed Transaction is

consummated, Defendants will directly and proximately have caused damages and actual

economic loss (i.e. the difference between the value to be received as a result of the Proposed

Transaction and the true value of their shares prior to the merger), in an amount to be determined

at trial, to Plaintiff and the Class.

II.     The Materially Incomplete and Misleading S-4

        29.     On February 28, 2020, Defendants caused the S-4 to be filed with the SEC in

connection with the Proposed Transaction. The S-4 solicits the Company’s shareholders to vote

in favor of the Proposed Transaction. Defendants were obligated to carefully review the S-4 before

it was filed with the SEC and disseminated to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the S-4 misrepresents and/or

omits material information that is necessary for the Company’s shareholders to make an informed




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decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

       The Materially Misleading Sales Process

       30.     The S-4 discloses that the first discussions relating to the Proposed Transaction

took place on September 18, 2019, when Individual Defendant Nick L. Stanage discussed with

Individual Defendant Thomas A. Gendron the potential benefits of a strategic transaction. S-4 53.

Over the next roughly four months, the Merger Agreement and all other transactions contemplated

by the merger were completed. Id. 53-60. From the description contained in the Background of

the Merger, the expedited sales process appears to be flawed and designed to facilitate a transaction

with Woodward.

       31.     The S-4 does not disclose if Hexcel or Goldman Sachs conducted a market check

or even considered a transaction without Woodward. The S-4 has multiple disclosures where

Hexcel Board meetings discussed the benefits of a potential strategic combination and logistically

what needed to be done to complete the merger, id. at 55-57, but there are no mentions of

considering any alternative forms of a transaction that would generate a premium for the

Company’s shareholders or continuing to operate on a stand-alone basis. This information is

material because the Company’s shareholders are being asked to give up their shares in a company

where they have voting power, and to exchange them for a minority stake. In order for the

Company’s shareholders to determine if they are being fairly compensated for the reduction in

voting power, the shareholders need to know if there was potential for other offers that would more

highly value the Company or if the Company considered alternate stand-alone strategic business

plans that could maximize the value of the Company. Without this information, shareholders

cannot be sure that the Merger Consideration represents the fair market value of the Company.




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        32.      Additionally, the S-4 fails to disclose the timing and the nature of the employment

and governance communications between the Company and Woodward. These discussions are

material because the Board’s interests are divergent from the shareholders in this regard and the

content of the communications illustrates to shareholders if the Board was truly negotiating for

their benefit.

        The Materiality of Financial Projections

        33.      A company’s financial forecasts are material information a board relies on to

determine whether to approve a merger transaction and recommend that shareholders vote to

approve the transaction. Here, the S-4 discloses that in connection with evaluating a possible

transaction with Woodward, Hexcel’s management created certain unaudited prospective financial

information for fiscal years 2020 through 2024, and projected EBITDA synergies for the next five

years following the merger. Id. at 84-87.

        34.      When soliciting proxies from shareholders, a company must furnish the

information found in Schedule 14A (codified as 17 C.F.R. § 240.14a-101). Item 14 of Schedule

14A sets forth the information a company must disclose when soliciting proxies regarding mergers

and acquisitions. In regard to financial information, companies are required to disclose “financial

information required by Article 11 of Regulation S-X[,]” which includes Item 10 of Regulation S-

K. See Item 14(7)(b)(11) of 17 C.F.R. § 240.14a-101.

        35.      Under Item 10 of Regulation S-K, companies are encouraged to disclose

“management’s projections of future economic performance that have a reasonable basis and are

presented in an appropriate format.” 17 C.F.R. § 229.10(b). Although the SEC recognizes the

usefulness of disclosing projected financial metrics, the SEC cautions companies to “take care to




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assure that the choice of items projected is not susceptible of misleading inferences through

selective projection of only favorable items.” 17 C.F.R. § 229.10(b)(2).

       36.     In order to facilitate investor understanding of the Company’s financial projections,

the SEC provides companies with certain factors “to be considered in formulating and disclosing

such projections[,]” including:

       (i) When management chooses to include its projections in a Commission filing,
       the disclosures accompanying the projections should facilitate investor
       understanding of the basis for and limitations of projections. In this regard investors
       should be cautioned against attributing undue certainty to management’s
       assessment, and the Commission believes that investors would be aided by a
       statement indicating management’s intention regarding the furnishing of updated
       projections. The Commission also believes that investor understanding would be
       enhanced by disclosure of the assumptions which in management’s opinion are
       most significant to the projections or are the key factors upon which the financial
       results of the enterprise depend and encourages disclosure of assumptions in a
       manner that will provide a framework for analysis of the projection.

       (ii) Management also should consider whether disclosure of the accuracy or
       inaccuracy of previous projections would provide investors with important insights
       into the limitations of projections. In this regard, consideration should be given to
       presenting the projections in a format that will facilitate subsequent analysis of the
       reasons for differences between actual and forecast results. An important benefit
       may arise from the systematic analysis of variances between projected and actual
       results on a continuing basis, since such disclosure may highlight for investors the
       most significant risk and profit-sensitive areas in a business operation.

17 C.F.R. § 229.10(b)(3) (emphasis added).

       37.     Here, Hexcel shareholders would clearly find complete and non-misleading

financial projections material in deciding how to vote, considering that the Board specifically

relied on the financial forecasts in reaching its decision to, among other things, approve the Merger

Agreement and the transactions contemplated by it. S-4 60-63.

       38.     As discussed further below, the non-GAAP financial projections used do not

provide Hexcel shareholders with a materially complete understanding of the assumptions and key

factors considered in developing the financial projections, which assumptions, factors and other

inputs the Board reviewed.




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       The Financial Projections Relied on by the Board

       39.     The S-4 discloses that in connection with evaluating a possible transaction with

Woodward, Hexcel’s management created certain unaudited prospective financial information for

fiscal years 2020 through 2024, and projected EBITDA synergies for the next five years following

the merger. Id. at 84-87.

       40.     The S-4 goes on to disclose, inter alia, forecasted values for projected non-GAAP

financial metrics for 2020 through 2024 for EBITDA, but fails to provide (i) the line items used to

calculate the non-GAAP metric or (ii) a reconciliation of the non-GAAP projections to the most

comparable GAAP measure. Id. at 87.

       41.     The S-4 does not define EBITDA, reconcile EBITDA to its most comparable

GAAP measure or disclose the line items used to calculate EBITDA, rendering the S-4 materially

false and/or misleading. Id.

       42.     Thus, the S-4’s disclosure of non-GAAP financial forecasts provides an incomplete

and materially misleading understanding of the Company’s future financial prospects and the

inputs and assumptions for which those prospects are based upon. It is clear that those inputs and

assumptions were in fact forecasted and utilized in calculating the non-GAAP measure disclosed

and relied on by the Board to recommend the Proposed Transaction in violation of Section 14(a)

of the Exchange Act.

       43.     The non-GAAP financial projections disclosed on page 87 of the S-4 violate

Section 14(a) of the Exchange Act because: (i) the use of such forecasted non-GAAP financial

measures alone violates SEC Regulation G as a result of Defendants’ failure to reconcile those

non-GAAP measures to their closest GAAP equivalent or otherwise disclose the specific financial

assumptions and inputs used to calculate the non-GAAP measures; and (ii) they violate SEC




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Regulation 14a-9 because they are materially misleading as without any correlation with their

GAAP equivalent financial metrics, shareholders are unable to discern the veracity of the financial

projections.

       44.     As such, this information must be disclosed in order to cure the materially

misleading disclosures regarding both the financial projections developed by the Company as well

as the projections relied upon by the Company’s financial advisors.

       The Financial Projections Violate Regulation G

       45.     The SEC has acknowledged that potential “misleading inferences” are exacerbated

when the disclosed information contains non-GAAP financial measures1 and adopted Regulation

G2 “to ensure that investors and others are not misled by the use of non-GAAP financial

measures.”3

       46.     Defendants must comply with Regulation G. More specifically, the company must

disclose the most directly comparable GAAP financial measure and a reconciliation (by schedule

or other clearly understandable method) of the differences between the non-GAAP financial

measure disclosed or released with the most comparable financial measure or measures calculated

and presented in accordance with GAAP. 17 C.F.R. § 244.100. This is because the SEC believes

“this reconciliation will help investors . . . to better evaluate the non-GAAP financial measures




1
        Non-GAAP financial measures are numerical measures of future financial performance
that exclude amounts or are adjusted to effectively exclude amounts that are included in the most
directly comparable GAAP measure. 17 C.F.R. § 244.101(a)(1).
2
        Item 10 of Regulations S-K and S-B were amended to reflect the requirements of
Regulation G.
3
        SEC, Final Rule: Conditions for Use of Non-GAAP Financial Measures (Jan. 22, 2003),
available at https://www.sec.gov/rules/final/33-8176.htm (“SEC, Final Rule”).



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. . . . [and] more accurately evaluate companies’ securities and, in turn, result in a more accurate

pricing of securities.”4

        47.     Moreover, the SEC has publicly stated that the use of non-GAAP financial

measures can be misleading.5      Former SEC Chairwoman Mary Jo White has stated that the

frequent use by publicly traded companies of unique company-specific non-GAAP financial

measures (as Hexcel included in the S-4 here) implicates the centerpiece of the SEC’s disclosures

regime:

        In too many cases, the non-GAAP information, which is meant to supplement the
        GAAP information, has become the key message to investors, crowding out and
        effectively supplanting the GAAP presentation. Jim Schnurr, our Chief Accountant,
        Mark Kronforst, our Chief Accountant in the Division of Corporation Finance and
        I, along with other members of the staff, have spoken out frequently about our
        concerns to raise the awareness of boards, management and investors. And last
        month, the staff issued guidance addressing a number of troublesome practices
        which can make non-GAAP disclosures misleading: the lack of equal or greater
        prominence for GAAP measures; exclusion of normal, recurring cash operating
        expenses; individually tailored non-GAAP revenues; lack of consistency; cherry-
        picking; and the use of cash per share data. I strongly urge companies to carefully
        consider this guidance and revisit their approach to non-GAAP disclosures. I also
        urge again, as I did last December, that appropriate controls be considered and that
        audit committees carefully oversee their company’s use of non-GAAP measures
        and disclosures.6




4
       SEC, Final Rule.
5
       See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial Regulation
(June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-financial-
measures-the-secs-evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping Companies
Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at http://www.nytimes.com
/2016/04/24/business/fantasy-math-is-helping-companies-spin-losses-into-profits.html?_r=0.
6
       Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), available at https://www.sec.gov/news/speech/chair-
white-icgn-speech.html (emphasis added) (footnotes omitted).



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       48.     The SEC has required compliance with Regulation G, including reconciliation

requirements in other merger transactions. Compare Youku Tudou Inc., et al., Correspondence to

SEC 5 (Jan. 11, 2016) (Issuer arguing that Rule 100(d) of Regulation G does not apply to non-

GAAP financials relating to a business combination),7 with Youku Tudou Inc., et al., SEC Staff

Comment Letter 1 (Jan. 20, 2016) (“[The SEC] note[s] that your disclosure of projected financial

information is not in response to the requirements of, or pursuant to, Item 1015 of Regulation M-

A and is thus not excepted from Rule 100 of Regulation G.”);8 see Harbin Electric, Inc.,

Correspondence to SEC 29 (Aug. 12, 2011) (“Pursuant to the requirements of Regulation G, we

have added a reconciliation of actual and projected EBIT to GAAP net income . . . .”).9

       49.     Compliance with Regulation G is mandatory under Section 14(a), and non-

compliance constitutes a violation of Section 14(a). Thus, in order to bring the S-4 into compliance




7
        Available at https://www.sec.gov/Archives/edgar/data/1442596/000110465916089133/
filename1.htm.
8
        Available at https://www.sec.gov/Archives/edgar/data/1442596/000000000016062042/
filename1.pdf.
9
        Available at https://www.sec.gov/Archives/edgar/data/1266719/000114420411046281/
filename1.htm. See also Actel Corporation, SEC Staff Comment Letter 2 (Oct. 13, 2010)
(“Opinion of Actel’s Financial Advisor, page 24 . . . This section includes non-GAAP financial
measures. Please revise to provide the disclosure required by Rule 100 of Regulation G.”),
available at https://www.sec.gov/Archives/edgar/data/907687/000000000010060087/filename
1.pdf. See also The Spectranetics Corp., SEC Staff Comment Letter 1 (July 18, 2017) (“Item 4.
The Solicitation or Recommendation Certain Spectranetics Forecasts, page 39 . . . [P]rovide the
reconciliation required under Rule 100(a) of Regulation G”), available at
https://www.sec.gov/Archives/edgar/data/789132/000000000017025180/filename1.pdf.                The
SEC Office of Mergers and Acquisitions applied Regulation G in these transactions, which reflect
the SEC’s official position. Any claim that the SEC has officially sanctioned the use of non-GAAP
financial forecasts for business combinations when the Board itself created and relied on such non-
GAAP forecasts to recommend a transaction such as the Proposed Transaction is incorrect. The
SEC’s website provides certain unofficial guidance for certain matters, called Compliance and
Disclosure Interpretations (“C&DI’s”) which through the use of Q&As reflect the views of
particular SEC staff and on which certain issuers have in the past claimed an exemption from
Regulation G. The SEC itself expressly disclaims C&DI’s as they are not regulations that have
been reviewed by the SEC, and the SEC expressly states that they are not binding and should not
be relied on. See www.sec.gov/divisions/corpfin/cfguidance.shtml (last visited Mar. 3, 2020).


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with Regulation G, Defendants must provide a reconciliation of the non-GAAP financial measures

to their respective most comparable GAAP financial measures.

       The Financial Projections are Materially Misleading and Violate SEC Rule 14a-9

       50.     In addition to the S-4’s violation of Regulation G, the lack of reconciliation or, at

the very least, the line items utilized in calculating the non-GAAP measures render the financial

forecasts disclosed materially misleading as shareholders are unable to understand the differences

between the non-GAAP financial measures and their respective most comparable GAAP financial

measures. Nor can shareholders compare the Company’s financial prospects with similarly

situated companies.

       51.     Such projections are necessary to make the non-GAAP projections included in the

S-4 not misleading for the reasons discussed above.

       52.     Furthermore, the failure to even provide a definition for EBITDA is particularly

misleading because non-GAAP financials have non-standard definitions. The failure to provide a

definition means shareholders cannot be sure this version of EBITDA is comparable to the

Company’s previous filings, Woodward or other competitors.

       53.     As such, financial projections are plainly material, and shareholders would clearly

want a complete and non-misleading understanding of those projections.

       54.     In order to cure the materially misleading nature of the projections under SEC Rule

14a-9 as a result of the omitted information on page 87, Defendants must provide a reconciliation

table of the non-GAAP financial measures to the most comparable GAAP measures.

       The Materially Misleading Financial Analyses

       55.     The summary of the valuation methodologies utilized by Goldman Sachs, including

the utilization of certain of the non-GAAP financial projections described above by Goldman

Sachs, in connection with its valuation analyses (id. at 65) is misleading in violation of Regulation


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14a-9. The opacity concerning the Company’s internal projections renders the valuation analyses

described below materially incomplete and misleading, particularly as companies formulate non-

GAAP metrics differently. Once an S-4 discloses internal projections relied upon by the Board,

those projections must be complete and accurate.

       56.     With respect to Goldman Sachs’s Illustrative Present Value of Future Share Price

Analysis – Hexcel Standalone, the S-4 discloses that Goldman Sachs performed an illustrative

analysis of the implied present values of illustrative future values per share of Hexcel common

stock on a stand-alone basis by calculating a range of future share prices, excluding dividends, for

Hexcel as of December 31 for each of the years 2020 to 2022 by applying a range of next twelve

months price to earnings multiples of 19.0x to 21.0x to the next twelve month earnings per share

estimates for Hexcel, using the Hexcel prospective financial information. Id. at 69. Goldman

Sachs then added the cumulative dividends per share expected to be paid to Hexcel stockholders

in each of the years 2020 to 2022, using the Hexcel prospective financial information. Id.

Goldman Sachs then discounted the implied future prices per share of Hexcel common stock

(including cumulative dividends) back to December 31, 2019, using a discount rate of 7.50%

calculated as Hexcel’s cost of equity. Id.

       57.     The S-4 fails to disclose the Company’s earnings per share estimates for years

2020-2022, the cumulative dividends per share expected to be paid to Hexcel shareholders for

years 2020-2022, and the inputs used in calculating Hexcel’s cost of equity.

       58.     With respect to Goldman Sachs’s Illustrative Present Value of Future Share Price

Analysis – Woodward Standalone, the S-4 discloses that Goldman Sachs performed an illustrative

analysis of the implied present values of illustrative future values per share of Woodward common

stock on a stand-alone basis by calculating a range of future share prices, excluding dividends, for




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Woodward as of December 31 for each of the years 2020 to 2022 by applying a range of next

twelve months price to earnings multiples of 19.0x to 21.0x to the next twelve month earnings per

share estimates for Woodward, using the Woodward prospective financial information. Id. at 69-

70. Goldman Sachs then added the cumulative dividends per share expected to be paid to

Woodward stockholders in each of the years 2020 to 2022, using the Woodward prospective

financial information. Id. Goldman Sachs then discounted the implied future prices per share of

Woodward common stock (including cumulative dividends) back to December 31, 2019, using a

discount rate of 8.0% calculated as Woodward’s cost of equity. Id.

       59.    The S-4 fails to disclose the Woodward’s earnings per share estimates for years

2020-2022, the cumulative dividends per share expected to be paid to Woodward shareholders for

years 2020-2022, and the inputs used in calculating Woodward’s cost of equity.

       60.    Goldman Sachs’s performed three discounted cash flow analyses, valuing Hexcel,

Woodward and the pro forma combined company. With respect to Goldman Sachs’s Illustrative

Discounted Cash Flow Analysis – Hexcel Standalone, the S-4 states Goldman Sachs discounted

estimates of unlevered free cash flow for Hexcel for the years 2020 through 2024, as reflected in

the Hexcel projected financial information, and a range of terminal values for Hexcel, which were

calculated by applying a multiple range of 12.0x to 14.0x to a terminal year estimate of the

EBITDA to be generated by Hexcel, as reflected in the Hexcel prospective financial information.

Id. at 67. Goldman Sachs utilized a discount rate range of 6.5% to 7.5%, calculated as Hexcel’s

weighted average cost of capital. Id. Goldman Sachs calculated a range of enterprise values for

Hexcel by adding the ranges of present values, and subtracted the amount of Hexcel’s net debt as

of December 31, 2019, and amounts attributable to tax-effected pension underfunding and other

post-employment benefits as of December 31, 2019, each as provided by Hexcel’s management,




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and added the amount of capitalized joint venture income, as provided by Hexcel’s management,

to calculate Hexcel’s equity value. Id. Goldman Sachs then divided by the fully diluted shares

outstanding of Hexcel common stock, as provided by Hexcel’s management, to derive the per

share value. Id.

       61.     With respect to Goldman Sachs’s Illustrative Discounted Cash Flow Analysis –

Woodward Standalone, the S-4 states Goldman Sachs discounted estimates of unlevered free cash

flow for Woodward for the first nine months of 2020 and for the full calendar years 2021 through

2024, as reflected in the Woodward projected financial information, and a range of terminal values

for Woodward, which were calculated by applying a multiple range of 12.0x to 14.0x to a terminal

year estimate of the EBITDA to be generated by Woodward, as reflected in the Woodward

prospective financial information. Id. at 68. Goldman Sachs utilized a discount rate range of 7.0%

to 8.0%, calculated as Woodward’s weighted average cost of capital.          Id. Goldman Sachs

calculated a range of enterprise values for Woodward by adding the ranges of present values, and

subtracted the amount of Woodward’s net debt as of December 31, 2019, and amounts attributable

to tax-effected pension underfunding and other post-employment benefits as of December 31,

2019, each as provided by Woodward’s management and approved by Hexcel, to calculate

Woodward’s equity value. Id. Goldman Sachs then divided by the fully diluted shares outstanding

of Woodward common stock, as provided by Woodward’s management and approved by Hexcel,

to derive the per share value. Id.

       62.     With respect to Goldman Sachs’s Illustrative Discounted Cash Flow Analysis – Pro

Forma Combined Company, the S-4 states that Goldman Sachs discounted estimates of unlevered

free cash flow for the pro forma combined company for the years 2020 through 2023 as reflected

in the Hexcel prospective financial information and the Woodward base prospective financial




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information, and a range of terminal values for the pro forma combined company, which were

calculated by applying a multiple range of 12.0x to 14.0x to a terminal year estimate of EBITDA

to be generated by the pro forma combined company taking into account the potential combined

company synergies, as reflected in the Hexcel prospective financial information, the Woodward

base prospective financial information and the potential combined company synergies. Id. at 68-

69. Goldman Sachs utilized a discount rate range of 6.5% to 7.5%, calculated as the pro forma

combined company’s weighted average cost of capital. Id. at 68. Goldman Sachs calculated a

range of enterprise values for the pro forma combined company by adding the range of present

values, subtracted the pro forma combined company estimated pro forma net debt and amounts

attributable to tax-effected pension underfunding of the pro forma combined company and other

post-employment benefits as of December 31, 2019, and the amount attributable to estimated

transaction costs of the pro forma combined company, each as provided by Hexcel’s management,

and added the amount of capitalized joint venture income, as provided by Hexcel’s management,

to the pro forma combined company’s equity value. Id. at 69. Goldman Sachs then divided by

the number of fully diluted shares expected to be outstanding for the combined company and

calculated the value to be received per share of Hexcel. Id.

       63.     With respect to Goldman Sachs’s discounted cash flow analysis of Hexcel, the S-4

does not define or disclose the forecasted unlevered free cash flows, the calculated range of

terminal values, any of the inputs that went into calculating the Company’s weighted average cost

of capital, how stock based compensation was treated, Hexcel’s net debt, the amounts attributable

to tax-effected pension underfunding and other post-employment benefits, the amount of

capitalized joint venture income or the number of fully diluted shares of Hexcel outstanding.




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       64.     With respect to Goldman Sachs’s discounted cash flow analysis of Woodward, the

S-4 does not define or disclose the forecasted unlevered free cash flows, the calculated range of

terminal values, any of the inputs that went into calculating the Woodward’s weighted average

cost of capital, how stock based compensation was treated, Woodward’s net debt, the amounts

attributable to tax-effected pension underfunding and other post-employment benefits or the

number of fully diluted shares of Woodward outstanding.

       65.     With respect to Goldman Sachs’s discounted cash flow analysis of the pro forma

combined company, the S-4 does not define or disclose the forecasted unlevered free cash flows,

the calculated range of terminal values, any of the inputs that went into calculating the combined

company’s weighted average cost of capital, how stock based compensation was treated, the

combined company’s estimated net debt, the amounts attributable to tax-effected pension

underfunding and other post-employment benefits, the amount of estimated transaction costs, the

amount of capitalized joint venture income or the number of fully diluted shares of the combined

company expected to be outstanding.

       66.     Since information was omitted, shareholders are unable to discern the veracity of

Goldman Sachs’s discounted cash flow analyses. Without further disclosure, shareholders are

unable to compare Goldman Sachs’s calculations with the Company’s financial projections. The

absence of any single piece of the above information renders Goldman Sachs’s discounted cash

flow analyses incomplete and misleading. Thus, the Company’s shareholders are being materially

misled regarding the value of the Company.

       67.     As a highly-respected professor explained in one of the most thorough law review

articles regarding the fundamental flaws with the valuation analyses bankers perform in support

of fairness opinions, in a discounted cash flow analysis a banker takes management’s projections




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and then makes several key choices “each of which can significantly affect the final valuation.”

Steven M. Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices

include “the appropriate discount rate, and the terminal value . . . .” Id. (footnote omitted). As

Professor Davidoff explains:

       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value . . . The substantial discretion and
       lack of guidelines and standards also makes the process vulnerable to manipulation
       to arrive at the “right” answer for fairness. This raises a further dilemma in light of
       the conflicted nature of the investment banks who often provide these opinions[.]

Id. at 1577-78 (footnotes omitted).

       68.      Therefore, in order for Hexcel shareholders to become fully informed regarding the

fairness of the Merger Consideration, the material omitted information must be disclosed to

shareholders.

       69.      In sum, the S-4 independently violates both: (i) Regulation G, which requires a

presentation and reconciliation of any non-GAAP financial to its most directly comparable GAAP

equivalent; and (ii) Rule 14a-9, since the material omitted information renders certain statements,

discussed above, materially incomplete and misleading. As the S-4 independently contravenes the

SEC rules and regulations, Defendants violated Section 14(a) and Section 20(a) of the Exchange

Act by filing the S-4 to garner votes in support of the Proposed Transaction from Hexcel

shareholders.

       70.      Absent disclosure of the foregoing material information prior to the special

shareholder meeting to vote on the Proposed Transaction, Plaintiff and the other members of the

Class will not be able to make a fully-informed decision regarding whether to vote in favor of the

Proposed Transaction, and they are thus threatened with irreparable harm, warranting the

injunctive relief sought herein.




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          71.    Further, failure to remedy the deficient S-4 and consummate the Proposed

Transaction will directly and proximately cause damages and actual economic loss to shareholders

(i.e. the difference between the value to be received as a result of the Proposed Transaction and

the true value of their shares prior to the merger), in an amount to be determined at trial, to Plaintiff

and the Class.

                                              COUNT I

      (Against All Defendants for Violations of Section 14(a) of the Exchange Act and
                      17 C.F.R. § 244.100 Promulgated Thereunder)

          72.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          73.    Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any [S-4] or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          74.    As set forth above, the S-4 omits information required by SEC Regulation G, 17

C.F.R. § 244.100, which independently violates Section 14(a). SEC Regulation G, among other

things, requires an issuer that chooses to disclose a non-GAAP measure to provide a presentation

of the “most directly comparable” GAAP measure and a reconciliation “by schedule or other

clearly understandable method” of the non-GAAP measure to the “most comparable” GAAP

measure. 17 C.F.R. § 244.100(a).




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          75.   The failure to reconcile the non-GAAP financial measures included in the S-4

violates Regulation G and constitutes a violation of Section 14(a).

          76.   As a direct and proximate result of the dissemination of the false and/or misleading

S-4 Defendants used to recommend that shareholders approve the Proposed Transaction, Plaintiff

and the Class will suffer damages and actual economic losses (i.e. the difference between the value

they will receive as a result of the Proposed Transaction and the true value of their shares prior to

the merger) in an amount to be determined at trial and are entitled to such equitable relief as the

Court deems appropriate, including rescissory damages.

                                             COUNT II

      (Against All Defendants for Violations of Section 14(a) of the Exchange Act and
                          Rule 14a-9 Promulgated Thereunder)

          77.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          78.   SEC Rule 14a-9 prohibits the solicitation of shareholder votes in registration

statements that contain “any statement which, at the time and in the light of the circumstances

under which it is made, is false or misleading with respect to any material fact, or which omits to

state any material fact necessary in order to make the statements therein not false or misleading[.]”

17 C.F.R. § 240.14a-9(a).

          79.   Regulation G similarly prohibits the solicitation of shareholder votes by “mak[ing]

public a non-GAAP financial measure that, taken together with the information accompanying that

measure . . . contains an untrue statement of a material fact or omits to state a material fact

necessary in order to make the presentation of the non-GAAP financial measure . . . not

misleading.” 17 C.F.R. § 244.100(b) (emphasis added).

          80.   Defendants have issued the S-4 with the intention of soliciting shareholder support




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for the Proposed Transaction. Each of the Defendants reviewed and authorized the dissemination

of the S-4, which fails to provide critical information regarding, amongst other things, the financial

projections for the Company.

       81.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as directors and/or officers, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the S-4 but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       82.     The Individual Defendants knew or were negligent in not knowing that the S-4 is

materially misleading and omits material facts that are necessary to render it not misleading. The

Individual Defendants undoubtedly reviewed and relied upon the omitted information identified

above in connection with their decision to approve and recommend the Proposed Transaction.

       83.     The Individual Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the S-4, rendering the sections of the S-4

identified above to be materially incomplete and misleading.

       84.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the S-4. The preparation of a registration statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the S-4 or

failing to notice the material omissions in the S-4 upon reviewing it, which they were required to

do carefully as the Company’s directors. Indeed, the Individual Defendants were intricately




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involved in the process leading up to the signing of the Merger Agreement and the preparation of

the Company’s financial projections.

          85.   Hexcel is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the S-4.

          86.   The misrepresentations and omissions in the S-4 are material to Plaintiff and the

Class, who will be deprived of their right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction.

          87.   As a direct and proximate result of the dissemination of the false and/or misleading

S-4 Defendants used to recommend that shareholders approve the Proposed Transaction, Plaintiff

and the Class will suffer damages and actual economic losses (i.e. the difference between the value

they will receive as a result of the Proposed Transaction and the true value of their shares prior to

the merger) in an amount to be determined at trial and are entitled to such equitable relief as the

Court deems appropriate, including rescissory damages.

                                            COUNT III

                       (Against the Individual Defendants for Violations
                             of Section 20(a) of the Exchange Act)

          88.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          89.   The Individual Defendants acted as controlling persons of Hexcel within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors and/or officers of Hexcel, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the S-4 filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and



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dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

       90.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the S-4 and other statements alleged by Plaintiff to be misleading prior to and/or shortly

after these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

       91.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein and exercised the same. The S-4 at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing the S-4.

       92.     In addition, as the S-4 sets forth at length, and as described herein, that the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The S-4 purports to describe the various issues and information that the Individual

Defendants reviewed and considered. The Individual Defendants participated in drafting and/or

gave their input on the content of those descriptions.

       93.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       94.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate




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result of Individual Defendants’ conduct, Plaintiff and the Class will be irreparably harmed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class Representative and his counsel as Class Counsel;

       B.      Enjoining Defendants and all persons acting in concert with them from proceeding

with the shareholder vote on the Proposed Transaction or consummating the Proposed Transaction,

unless and until the Company discloses the material information discussed above which has been

omitted from the S-4;

       C.      Directing Defendants to account to Plaintiff and the Class for all damages sustained

as a result of their wrongdoing and to award damages arising from proceeding with the Proposed

Transaction;

       D.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: March 5, 2020

                                                   Respectfully submitted,

                                                   FARUQI & FARUQI, LLP

                                                   By: /s/ James M. Wilson, Jr.

                                                   Nadeem Faruqi
                                                   James M. Wilson, Jr.
                                                   685 Third Avenue, 26th Floor
                                                   New York, NY 10017



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